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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


     Prinzo & Associates, LLC, on behalf of itself and
     all others similarly situated,
                                                                  Case No. 1:20-cv-3256
                Plaintiff,
      v.

     BMO Harris Bank N.A.; BMO Financial Corp., a                  Hon. Gary S. Feinerman
     Delaware corporation; and Does 1-100, inclusive,

                Defendants.


                        MOTION TO DISMISS OF DEFENDANTS
                   BMO HARRIS BANK N.A. AND BMO FINANCIAL CORP.


              Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure,

 Defendants BMO Harris Bank N.A. and BMO Financial Corp. (“Defendants”) move to

 dismiss this action. As grounds for this motion, as more fully outlined in Defendants’

 Memorandum in Support of Their Motion to Dismiss, Defendants state as follows:

1.         Defendants respectfully request that this Court dismiss Plaintiff’s facially defective

           Complaint pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil

           Procedure because: (i) Plaintiff lacks Article III standing-- Plaintiff does not allege an

           injury in fact, much less that its claims are ripe for adjudication; and (ii) Plaintiff fails to

           set forth sufficient factual allegations to state a claim for relief for any of its claims.

2.         Plaintiff, Prinzo & Associates (“Plaintiff”), filed this class action lawsuit seeking its fees

           in connection with assisting an unnamed small business in applying for a Payroll




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      Protection Program (“PPP”) loan through BMO Harris.

3.    Plaintiff, however, is not entitled to these fees for two primary reasons:

        (i)     Plaintiff does not (and cannot) allege that it complied with the Small Business

                Administration’s (“SBA”) requirements to be eligible for its purported fees;

                and

        (ii)    Despite Plaintiff’s allegation that it is required, at a minimum, to submit a

                “request for fee payment to the lender with the agent’s fee based upon [] the

                work performed for the client,” (Compl. ¶34) Plaintiff does not (and cannot)

                allege that it made such a request.

4. As a result of these failings, this Court should dismiss the action for lack of subject matter

     jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1) because: (i) Plaintiff has not suffered an

     injury in fact; and/or (ii) Plaintiff’s claims, to the extent it has any, are not yet ripe for

     adjudication.

5. In the alternative, the Plaintiff fails to state a claim for relief under Fed. R. Civ. P. 12(b)(6),

     and should be dismissed with prejudice, for the following reasons:

        (i)     Plaintiff’s declaratory judgment and state law claims fail because Plaintiff

                seeks only to enforce provisions of the Coronavirus Aid, Relief, and Economic

                Security Act (the “CARES Act”) and/or SBA regulations—for which there is

                no private right of action. The United States Supreme Court has rejected this

                tactic as an impermissible attempt to create a private right of action where

                none exists. When a plaintiff’s suit is “in essence a suit to enforce” a federal

                statute lacking a private right of action, it is “incompatible with the statutory



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          regime” to allow common-law claims predicated on alleged violations of that

          federal standard. Astra USA, Inc. v. Santa Clara County, 563 U.S. 110, 118 (2011).

  (ii)    Plaintiff’s state law claims also fail in substance because Plaintiff either failed

          to plead the necessary elements to support its claims and/or lacks standing to

          assert the claims in the first place.

  (iii)   Plaintiff‘s breach of contract, third party beneficiary claim (Count II) fails

          because Plaintiff was not a direct beneficiary of the agreement between BMO

          Harris and the SBA.

  (iv)    Plaintiff’s Illinois Consumer Fraud And Deceptive Business Practices Act

          (ICFA) claim (Count III) fails because Plaintiff: (a) lacks standing under ICFA

          as a non-resident business; (b) does not assert any deceptive acts, much less

          with the required specificity; (c) does not allege any “unfair” conduct—there is

          nothing improper with requiring compliance with SBA regulations.

  (v)     Plaintiff’s unjust enrichment claim (Count IV) is dead on arrival because: (i)

          the other claims it is dependent on failed; and (ii) Plaintiff cannot allege that

          BMO Harris unjustly retained a benefit that Plaintiff is not entitled to receive.

  (vi)    Plaintiff’s conversion claim (Count V) also fails because it does not allege a

          proper demand for payment, much less that Plaintiff was even entitled to the

          payment.

  (vii)   Finally, Plaintiff’s claims against BMO Financial Corp. should be dismissed

          because Plaintiff fails to assert any facts directed against BMO Financial Corp.

          Despite Plaintiff’s general allegation that “Defendants” made PPP loans but



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              refused to pay agent fees to Plaintiff, the Complaint does not allege that BMO

              Financial Corp. made any PPP loans, much less the one to the Plaintiff’s

              alleged client. Nor could Plaintiff, as BMO Financial Corp. did not make or

              fund PPP loans, and does not appear on the SBA’s list of eligible PPP lenders.

6. In further support of and grounds for this motion, Defendants refer to and rely upon its

   Memorandum in Support, filed concurrently.

        WHEREFORE, defendants BMO Harris Bank N.A. and BMO Financial Corp.

respectfully move to dismiss Plaintiff’s Complaint: (1) for lack of subject matter jurisdiction

under Fed. R. Civ. P. 12(b)(1) or, (2) in the alternative, with prejudice under Fed. R. Civ. P.

12(b)(6) because there is no private right of action for the purported acts or omissions

alleged, there is no right to such relief under Illinois law, and such defects cannot be cured

by amendment. Further, Defendants requests such other relief that the Court deems just

and proper.



        Dated August 14, 2020

                                             Respectfully submitted,
                                             /s/Jeffrey E. Jamison
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                                  CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that the aforementioned document was

filed through the Court’s CM/ECF system on August 14, 2020. Parties of record may obtain a

copy through the Court’s CM/ECF system. The undersigned certifies that no party of record

requires service of documents through any means other than the CM/ECF system.

                                                       /s/ Jeffrey E. Jamison
